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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 D. RODNEY ROGERS,

              Plaintiff,

 v.
                                                     Civil Case No. 16-12735
 MATTHEW RYAN, SGT. SABBI,                           Honorable Linda V. Parker
 SERINA KELLEY, JEFFREY MORIN,
 MICHAEL CONNELLY, JAMES CRAIG,
 CITY OF DETROIT MAYOR DAVE BING,
 and JOHN DOES 1-2,

           Defendants.
 ______________________________________/

                              OPINION AND ORDER

       This is a civil rights action brought pursuant to 42 U.S.C. § 1983 on July 19,

 2016, which arises from Plaintiff’s arrest three years earlier. The Court has

 referred the matter to Magistrate Judge David R. Grand for all pretrial matters

 pursuant to 28 U.S.C. § 636(b). (ECF No. 9.) On August 23, 2018, Magistrate

 Judge Grand issued a report and recommendation (“R&R”) recommending that the

 Court deny as moot Defendants’ motion to dismiss for failure to comply with a

 court order. (ECF No. 114.) Magistrate Judge Grand reasons that Plaintiff has

 complied with the court order.

       At the conclusion of the R&R, Magistrate Judge Grand advises the parties

 that they may object to and seek review of the R&R within fourteen days of service
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 upon them. (Id. at Pg ID 913.) He further specifically advises the parties that

 “[f]ailure to file specific objections constitutes a waiver of any further right to

 appeal.” (Id.) Neither Plaintiff nor Defendants filed objections to the R&R.

       The Court has carefully reviewed the R&R and concurs with the conclusions

 reached by Magistrate Judge Grand. The Court therefore adopts Magistrate Judge

 Grand’s August 23, 2018 R&R.

       Accordingly,

       IT IS ORDERED that Defendants’ motion to dismiss (ECF No. 102) is

 DENIED AS MOOT.

                                                s/ Linda V. Parker
                                                LINDA V. PARKER
                                                U.S. DISTRICT JUDGE

 Dated: September 27, 2018

 I hereby certify that a copy of the foregoing document was mailed to counsel of
 record and/or pro se parties on this date, September 27, 2018, by electronic and/or
 U.S. First Class mail.

                                                s/ R. Loury
                                                Case Manager




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